Case 6:23-cv-00609-JDK Document 28-1 Filed 03/15/24 Page 1 of 12 PageID #: 847




                          Exhibit 1
Case 6:23-cv-00609-JDK Document 28-1 Filed 03/15/24 Page 2 of 12 PageID #: 848
Case 6:23-cv-00609-JDK Document 28-1 Filed 03/15/24 Page 3 of 12 PageID #: 849
Case 6:23-cv-00609-JDK Document 28-1 Filed 03/15/24 Page 4 of 12 PageID #: 850
Case 6:23-cv-00609-JDK Document 28-1 Filed 03/15/24 Page 5 of 12 PageID #: 851
Case 6:23-cv-00609-JDK Document 28-1 Filed 03/15/24 Page 6 of 12 PageID #: 852
Case 6:23-cv-00609-JDK Document 28-1 Filed 03/15/24 Page 7 of 12 PageID #: 853
Case 6:23-cv-00609-JDK Document 28-1 Filed 03/15/24 Page 8 of 12 PageID #: 854
Case 6:23-cv-00609-JDK Document 28-1 Filed 03/15/24 Page 9 of 12 PageID #: 855
Case 6:23-cv-00609-JDK Document 28-1 Filed 03/15/24 Page 10 of 12 PageID #: 856
Case 6:23-cv-00609-JDK Document 28-1 Filed 03/15/24 Page 11 of 12 PageID #: 857
Case 6:23-cv-00609-JDK Document 28-1 Filed 03/15/24 Page 12 of 12 PageID #: 858
